Case 7:19-cv-00511-GEC Document 8 Filed 09/05/19 Page 1 of 2 Pageid#: 48
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                                                                            UL!       DUDLW , LQRK
                           INTHEUNITEDSTATESDISTRICTCOURT$              -
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                           FOR THE W ESTERN DISTRICT OF VIRGINIA
                                     ROANOKE DIVISIO N



     Theodora Lynn Jackspn

           rlllhirltiff,

     M.

     MichaelS.Bow lin

     and                                                            CivilAction No.7:19CV00511

     Martin Transport,Inc.

     and

     Eastm an Chem icalCom pany

     and

     John Doe
           Defendants.


                                    AGREED O RDER O F DISM ISSAL

           This day came the padies to thisaction,by counsel,and advised the Coud that
     aIImattersincontioversyexistingbetweenthem have been compromised andsettled;
     andaccordingly,i
                    tisORDERED thatthiscase isdismissed withprejudice.
           The Clerk is directed to provide attested copies ofthis Orderto aIlcounselof
     record and dism iss this matterfrom the adive docketofthis Court

           ENTER this -5-    -
                                 day of september   '
                                                        2019.




                                                        SeniorUnited States DistrictJudge
Case 7:19-cv-00511-GEC Document 8 Filed 09/05/19 Page 2 of 2 Pageid#: 49




     W e askforthis:

     /s/ Charles C.Lacv,Sr.

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